Case 4:21-cv-01074-P Document 161 Filed 03/13/23                          Page 1 of 33 PageID 5389



                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

                                                                 §
  DAVID SAMBRANO, et al., individually,                          §
  and on behalf of all others similarly                          §
  situated,                                                      §         Civil Action No.
                                                                 §
           Plaintiffs,                                           §         4:21-CV-01074-P
                                                                 §
 v.                                                              §
                                                                 §
 UNITED AIRLINES, INC.,                                          §
                                                                 §
           Defendant.

  APPENDIX IN SUPPORT OF DEFENDANT'S MOTION FOR PARTIAL DISMISSAL
      OF THE SECOND AMENDED COMPLAINT AND BRIEF IN SUPPORT

          NOW COMES, Defendant United Airlines, Inc. and files this Appendix in Support of Its

Motion to Dismiss and Brief in Support.

EXHIBIT                                    DESCRIPTION                                        PAGE NO.

      A                   Burk EEOC Charge                                                       App. 1-3

      B                   Castillo EEOC Charge                                                   App. 4-6

      C                   Hamilton EEOC Charge                                                 App. 7-11

      D                   Jonas EEOC Charge                                                   App. 12-15

      E                   Kincannon EEOC Charge                                               App. 16-19

      F                   Medlin EEOC Charge                                                  App.20-22

      G                   Rains EEOC Charge                                                   App.23-25

      H                   Sambrano EEOC Charge                                                App. 26-30




APPENDIX IN SUPPORT OF DEFENDANT'S MOTION FOR PARTIAL
DISMISSAL OF THE SECOND AMENDED COMPLAINT AND BRIEF IN SUPPORT - PAGE 1              3698239_1.DOCX
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 2 of 33 PageID 5390
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 3 of 33 PageID 5391
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 4 of 33 PageID 5392




                                                                     App. 001
                                                             A
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 5 of 33 PageID 5393




                                                                     App. 002
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 6 of 33 PageID 5394




                                                                     App. 003
                                             Received EEOC CDO - 09/19/2022
                Case
 EEOC Form 5 (11/09)             4:21-cv-01074-P Document 161 Filed 03/13/23                                                                Page 7 of 33 PageID 5395
                                                                                                                       Charge Presented To:                       Agency(ies) Charge No(s):
                         CHARGE OF DISCRIMINATION
                                                                                                                            □
     This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                                      FEPA                         450-2022-00302
           Statement and other information before completing this form.
                                                                                                                            !RI      EEOC
                                                                                                                                                                                                              and EEOC
                                                                                     State or local Agency, if any
Name (Indicate Mr., Ms., Mrs.)                                                                                                                           Home Phone (Incl. Area Cade)                    Date of Birth
 David Michael Castillo
Street Address                                                                       City, State and ZIP Code
                                                                                                                                                     I     (510) 755-3126                    I                 /67

726 N. Hampton St., Apt. 7207                                                       Ft. Worth, Texas 76102
 Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe Discriminated Against
 Me or Others. (If more than two are named, list under PARTICULARS below.)
Name                                                                                                                                                       No. Employees, Members                 Phone No.(Incl.Area Code)
United Airlines
Street Address                                                                       City, State and ZIP Code
                                                                                                                                                     I           84000+                      I     (800) 864-8331

233 S. Wacker Dr.                                                                   Chicago, Illinois 60606
Name                                                                                                                                                       No. Employees, Members                 Phone No.(Incl. Area Code)

Street Address                                                                       City, State and ZIP Code
                                                                                                                                                     I                                      I
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                                                                    DATE(S) DISCRIMINATION TOOK PLACE

   □     RACE
                                 □COLOR
                                                          □      SEX                   IRJ     RELIGION                              □   NATIONAL ORIGIN
                                                                                                                                                                                       Earliest

                                                                                                                                                                             Aug 9, 2021
                                                                                                                                                                                                                   Latest




          □       RETALIATION
                                                  □    AGE
                                                                        □         DISABILITY
                                                                                                                           □
                                                                                                                                     GENETIC INFORMATION

                  □ OTHER (Specify)                                                                                                                                              IRJ     CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheer(s/):
United Airlines told us in August of 2021 that they would be mandating the COVID-19 vaccine at the company, effective at the end of
September. I am a Buddhist and have a sincerely held religious belief that prevents me from taking the vaccines, but United said that we
would need a letter from a pastor if we sought a religious exemption from the mandate. As a Buddhist, I do not have a pastor who could
provide a letter for me. I later learned that the company removed the requirement of a pastor's letter but I had already attempted to file
an accommodation form on United's computer system (Help Hub) and could not complete the process. It also came out later that the
"reasonable accommodation" for needing an exemption from the mandate would be unpaid leave.

I ended up filing a request for an accommodation in mid-September. My supervisor said the request was "untimely" since it did not
follow United's internally-imposed deadline. While United rejected the "untimely" (according to the company) accommodation requests
from others, they made an exception for my request because I am a named litigant in a case against the company. Were I not named in
the lawsuit, I would have been terminated (like others at the company). As it was, my accommodation approval instead allowed me to be
put on unpaid leave at the beginning of October. The company had decided in the meantime, though (while the lawsuit was pending),
to provide some exempt employees with actual accommodations that let us remain at work. Even though United ended up providing an
accommodation for me to keep getting a paycheck, the company continues to prevent me from doing certain jobs (such as remote trips
to work on engines) because of my vaccination status. These limitations are unreasonable given the mitigation steps I was willing to take
while remaining employed, especially since I had already had COVID. This is even more true now that the CDC has said unvaccinated
individuals should not be treated differently than vaccinated individuals.




                                                                                                                NOTARY - When necessary for State or Local Agency Requiremenrs
I want this charge filed with both the EEOC and the State or local Agency, if any. I will advise the
agencies if I change my address or phone number and I will cooperate fully with them in the
processing of my charge in accordance with their procedures.                                                                                   the above charge and that it is true to the best of my
                                                                                                                I swear or affirm that I have read
                                                                                                                knowledge, information and belief.
I declare under penalty of perjury that the above is true and correct.
                                                                                                                SIGNATURE OF COMPLAINANT


       't-/7-
                  Date
                           zz             ~            Charging Party Signature      --1
                                                                                                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                                (month, day, year)




                                                                                                                                                                                           App. 004
                                                                                                                                                                    B
 Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 8 of 33 PageID 5396
        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                  Chicago District Office
                                                                                   230 S Dearborn Street
                                                                                       Chicago, IL 60604
                                                                                          (800) 669-4000
                                                                                  Website: www.eeoc.gov



                  NOTICE OF CHARGE OF DISCRIMINATION
                         (This Notice replaces EEOC FORM 131)
                                           09/20/2022

To: Megan Detzner
    Sr. Manager, EEO Compliance
    UNITED AIRLINES
    233 S. Wacker Drive, 11th Floor
     Chicago, IL 60606


This is notice that a charge of employment discrimination has been filed with the EEOC against
your organization by David M Castillo under: Title VII of the Civil Rights Act of 1964 (Title VII).
The circumstances of the alleged discrimination are based on Religion, and involve issues of
Reasonable Accommodation that are alleged to have occurred on or about 11/12/2021.
The Digital Charge System makes investigations and communications with charging parties and
respondents more efficient by digitizing charge documents. The charge is available for you to
download from the EEOC Respondent Portal, the EEOC’s secure online system.
Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
   1. Access the EEOC’s secured online system at https://arc.eeoc.gov/rsp/login.jsf
   2. Enter this EEOC Charge No.: 450-2022-00302
   3. Enter this password: LWODF9EVe
Once you log into the system, you can view and download the charge, and electronically submit
documents to EEOC. The system will also advise you of possible actions or responses and identify
your EEOC point of contact for this charge.
If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
may send an email to CHICAGOEEOC@EEOC.GOV.




                                                                                             App. 005
    Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 9 of 33 PageID 5397

Preservation of Records Requirement When a Charge has Been Filed
The EEOC regulations require respondents to preserve all payroll and personnel records relevant to the
charge until final disposition of the charge or litigation. 29 CFR §1602.14. For more information on your
obligation to preserve records, see http://eeoc.gov/employers/recordkeeping.cfm.


Non-Retaliation Requirements
The laws enforced by the EEOC prohibit retaliation against any individual because s/he has filed a
charge, testified, assisted or participated in an investigation, proceeding or hearing under these laws.
Persons filing charges of discrimination are advised of these Non-Retaliation Requirements and are
instructed to notify the EEOC if any attempt at retaliation is made. For more information, see
http://www.eeoc.gov/laws/types/facts-retal.cfm.


Legal Representation
Although you do not have to be represented by an attorney while we handle this charge, you have a right,
and may wish to retain an attorney to represent you. If you do retain an attorney, please provide the
attorney’s contact information when you log in to the online system.


Please retain this notice for your records.




                                                                                             App. 006
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 10 of 33 PageID 5398




                                                                      App. 007
                                                              C
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 11 of 33 PageID 5399




                                                                      App. 008
          Case 4:21-cv-01074-P Document 161 Filed 03/13/23                Page 12 of 33 PageID 5400

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
   ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW
Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act.



                                                                                                   App. 009
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 13 of 33 PageID 5401
        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                  Chicago District Office
                                                                                   230 S Dearborn Street ,
                                                                                  Chicago ,Illinois ,60604
                                                                                          (312) 872-9777
                                                                                  Website: www.eeoc.gov



                  NOTICE OF CHARGE OF DISCRIMINATION
                         (This Notice replaces EEOC FORM 131)
                                           02/23/2022

To: Megan Detzner
    Sr. Manager, EEO Compliance
    UNITED AIRLINES
    233 S.Wacker Drive 11th Floor
     CHICAGO, IL 60606


This is notice that a charge of employment discrimination has been filed with the EEOC against
your organization by Kimberly A Hamilton under: Title VII of the Civil Rights Act of 1964 (Title
VII). The circumstances of the alleged discrimination are based on Religion, and involve issues of
Reasonable Accommodation that are alleged to have occurred on or about 02/17/2022.
The Digital Charge System makes investigations and communications with charging parties and
respondents more efficient by digitizing charge documents. The charge is available for you to
download from the EEOC Respondent Portal, the EEOC’s secure online system.
Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
   1. Access the EEOC’s secured online system at https://arc.eeoc.gov/rsp/login.jsf
   2. Enter this EEOC Charge No.: 450-2021-06274
   3. Enter this password: fKoFNqyP
Once you log into the system, you can view and download the charge, and electronically submit
documents to EEOC. The system will also advise you of possible actions or responses and identify
your EEOC point of contact for this charge.
If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
may send an email to CHICAGOEEOC@EEOC.GOV.




                                                                                              App. 010
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                  Page 14 of 33 PageID 5402



Preservation of Records Requirement When a Charge has Been Filed
The EEOC regulations require respondents to preserve all payroll and personnel records relevant
to the charge until final disposition of the charge or litigation. 29 CFR §1602.14. For more
information       on       your        obligation     to        preserve     records,       see
http://eeoc.gov/employers/recordkeeping.cfm.


Non-Retaliation Requirements
The laws enforced by the EEOC prohibit retaliation against any individual because s/he has filed
a charge, testified, assisted or participated in an investigation, proceeding or hearing under these
laws. Persons filing charges of discrimination are advised of these Non-Retaliation Requirements
and are instructed to notify the EEOC if any attempt at retaliation is made. For more information,
see http://www.eeoc.gov/laws/types/facts-retal.cfm.


Legal Representation
Although you do not have to be represented by an attorney while we handle this charge, you have
a right, and may wish to retain an attorney to represent you. If you do retain an attorney, please
provide the attorney’s contact information when you log in to the online system.


Please retain this notice for your records.




                                                                                           App. 011
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 15 of 33 PageID 5403




                                                                      App. 012
                                                              D
          Case 4:21-cv-01074-P Document 161 Filed 03/13/23                Page 16 of 33 PageID 5404

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
   ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW
Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act.



                                                                                                   App. 013
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 17 of 33 PageID 5405
        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                  Chicago District Office
                                                                                   230 S Dearborn Street
                                                                                       Chicago, IL 60604
                                                                                          (800) 669-4000
                                                                                  Website: www.eeoc.gov



                  NOTICE OF CHARGE OF DISCRIMINATION
                         (This Notice replaces EEOC FORM 131)
                                           04/21/2022

To: Megan Detzner
    Sr. Manager, EEO Compliance
    UNITED AIRLINES
    233 S WACKER DR
     CHICAGO, IL 60606


This is notice that a charge of employment discrimination has been filed with the EEOC against
your organization by Debra J Thal Jonas under: The Americans With Disabilities Act of 1990
(ADA). The circumstances of the alleged discrimination are based on Disability, and involve issues
of Reasonable Accommodation that are alleged to have occurred on or about 03/08/2022.
The Digital Charge System makes investigations and communications with charging parties and
respondents more efficient by digitizing charge documents. The charge is available for you to
download from the EEOC Respondent Portal, the EEOC’s secure online system.
Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
   1. Access the EEOC’s secured online system at https://arc.eeoc.gov/rsp/login.jsf
   2. Enter this EEOC Charge No.: 450-2021-06256
   3. Enter this password: UJS8jPs5
Once you log into the system, you can view and download the charge, and electronically submit
documents to EEOC. The system will also advise you of possible actions or responses and identify
your EEOC point of contact for this charge.
If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
may send an email to CHICAGOEEOC@EEOC.GOV.




                                                                                             App. 014
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                  Page 18 of 33 PageID 5406



Preservation of Records Requirement When a Charge has Been Filed
The EEOC regulations require respondents to preserve all payroll and personnel records relevant
to the charge until final disposition of the charge or litigation. 29 CFR §1602.14. For more
information       on       your        obligation     to        preserve     records,       see
http://eeoc.gov/employers/recordkeeping.cfm.


Non-Retaliation Requirements
The laws enforced by the EEOC prohibit retaliation against any individual because s/he has filed
a charge, testified, assisted or participated in an investigation, proceeding or hearing under these
laws. Persons filing charges of discrimination are advised of these Non-Retaliation Requirements
and are instructed to notify the EEOC if any attempt at retaliation is made. For more information,
see http://www.eeoc.gov/laws/types/facts-retal.cfm.


Legal Representation
Although you do not have to be represented by an attorney while we handle this charge, you have
a right, and may wish to retain an attorney to represent you. If you do retain an attorney, please
provide the attorney’s contact information when you log in to the online system.


Please retain this notice for your records.




                                                                                           App. 015
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 19 of 33 PageID 5407




                                                                      App. 016
                                                              E
          Case 4:21-cv-01074-P Document 161 Filed 03/13/23                Page 20 of 33 PageID 5408

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
   ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW
Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act.



                                                                                                   App. 017
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 21 of 33 PageID 5409
        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                  Chicago District Office
                                                                                   230 S Dearborn Street ,
                                                                                  Chicago ,Illinois ,60604
                                                                                          (312) 872-9777
                                                                                  Website: www.eeoc.gov



                  NOTICE OF CHARGE OF DISCRIMINATION
                         (This Notice replaces EEOC FORM 131)
                                           02/18/2022

To: Megan Detzner
    Sr. Manager, EEO Compliance
    UNITED AIRLINES
    233 Wacker Dr 11th Floor
     CHICAGO, IL 60606


This is notice that a charge of employment discrimination has been filed with the EEOC against
your organization by Genise Kincannon under: Title VII of the Civil Rights Act of 1964 (Title
VII). The circumstances of the alleged discrimination are based on Religion, and involve issues of
Other Issue Not Listed Above that are alleged to have occurred on or about 11/16/2021.
The Digital Charge System makes investigations and communications with charging parties and
respondents more efficient by digitizing charge documents. The charge is available for you to
download from the EEOC Respondent Portal, the EEOC’s secure online system.
Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
   1. Access the EEOC’s secured online system at https://arc.eeoc.gov/rsp/login.jsf
   2. Enter this EEOC Charge No.: 550-2021-01800
   3. Enter this password: yqklVZwW
Once you log into the system, you can view and download the charge, and electronically submit
documents to EEOC. The system will also advise you of possible actions or responses and identify
your EEOC point of contact for this charge.
If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
may send an email to CHICAGOEEOC@EEOC.GOV.




                                                                                              App. 018
Case 4:21-cv-01074-P Document 161 Filed 03/13/23                  Page 22 of 33 PageID 5410



Preservation of Records Requirement When a Charge has Been Filed
The EEOC regulations require respondents to preserve all payroll and personnel records relevant
to the charge until final disposition of the charge or litigation. 29 CFR §1602.14. For more
information       on       your        obligation     to        preserve     records,       see
http://eeoc.gov/employers/recordkeeping.cfm.


Non-Retaliation Requirements
The laws enforced by the EEOC prohibit retaliation against any individual because s/he has filed
a charge, testified, assisted or participated in an investigation, proceeding or hearing under these
laws. Persons filing charges of discrimination are advised of these Non-Retaliation Requirements
and are instructed to notify the EEOC if any attempt at retaliation is made. For more information,
see http://www.eeoc.gov/laws/types/facts-retal.cfm.


Legal Representation
Although you do not have to be represented by an attorney while we handle this charge, you have
a right, and may wish to retain an attorney to represent you. If you do retain an attorney, please
provide the attorney’s contact information when you log in to the online system.


Please retain this notice for your records.




                                                                                           App. 019
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 23 of 33 PageID 5411




                                                              F       App. 020
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 24 of 33 PageID 5412




                                                                      App. 021
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 25 of 33 PageID 5413




                                                                      App. 022
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 26 of 33 PageID 5414




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Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 27 of 33 PageID 5415




                                                                      App. 024
Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 28 of 33 PageID 5416




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Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 29 of 33 PageID 5417




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Case 4:21-cv-01074-P Document 161 Filed 03/13/23   Page 30 of 33 PageID 5418




                                                                      App. 027
          Case 4:21-cv-01074-P Document 161 Filed 03/13/23                Page 31 of 33 PageID 5419

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
   ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW
Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act.



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Case 4:21-cv-01074-P Document 161 Filed 03/13/23                 Page 32 of 33 PageID 5420
        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                      Dallas District Office
                                                                             207 S. Houston Street, 3rd Floor
                                                                                          Dallas, TX 75202
                                                                                             (800) 669-4000
                                                                                    Website: www.eeoc.gov



                  NOTICE OF CHARGE OF DISCRIMINATION
                         (This Notice replaces EEOC FORM 131)
                                           04/03/2022

To: Megan Detzner
    Sr. Manager, EEO Compliance
    233 S. Wacker Drive 11th Floor
     Chicago, IL 60606


This is notice that a charge of employment discrimination has been filed with the EEOC against
your organization by David E Sambrano under: Title VII of the Civil Rights Act of 1964 (Title
VII). The circumstances of the alleged discrimination are based on Religion, and involve issues of
Reasonable Accommodation that are alleged to have occurred on or about 11/12/2021.
The Digital Charge System makes investigations and communications with charging parties and
respondents more efficient by digitizing charge documents. The charge is available for you to
download from the EEOC Respondent Portal, the EEOC’s secure online system.
Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
   1. Access the EEOC’s secured online system at https://arc.eeoc.gov/rsp/login.jsf
   2. Enter this EEOC Charge No.: 524-2021-01651
   3. Enter this password: FlaxvdWr
Once you log into the system, you can view and download the charge, and electronically submit
documents to EEOC. The system will also advise you of possible actions or responses and identify
your EEOC point of contact for this charge.
If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
may send an email to dallasintake@eeoc.gov.




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Case 4:21-cv-01074-P Document 161 Filed 03/13/23                  Page 33 of 33 PageID 5421



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Although you do not have to be represented by an attorney while we handle this charge, you have
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provide the attorney’s contact information when you log in to the online system.


Please retain this notice for your records.




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